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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE



In re:                                                   Chapter 11

FRANCHISE GROUP, INC., et al.,                           Case No.: 24-12480 (JTD)

                 Debtors.                                (Jointly Administered)


                         MOTION AND ORDER FOR ADMISSION PRO HAC VICE

         Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice of
Scott L. Fleischer of Barclay Damon LLP to represent Benenson Capital Partners LLC, CRI New Albany Square,
LLC, DLC Management Corporation, First National Realty Partners, Grove City Plaza, L.P., HV Center LLC, et al.,
(HV Center LLC, HV Center TIC I LLC, HV Center TIC 2 LLC), Inland Commercial Real Estate Services LLC,
National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al. (SS Tulsa Center
LLC, SS Tulsa Center TIC 1 LLC, SS Tulsa Center TIC 2 LLC, Tulsa Center TIC 3 LLC, and SS Tulsa Center TIC 4
LLC), Wheeler REIT, LP, and/or certain of their affiliates in the above case and any associated adversary
proceedings.

Dated: December 10, 2024                                   /s/ Laurel D. Roglen
Wilmington, Delaware                                       Laurel D. Roglen, Esquire (DE No. 5759)
                                                           BALLARD SPAHR LLP
                                                           919 North Market Street, 11th Floor
                                                           Wilmington, Delaware 19801
                                                           Telephone: (302) 252-4462
                                                           Facsimile: (302) 252-4466
                                                           E-mail: roglenl@ballardspahr.com

                   CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

          Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the States of New York and New Jersey and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this
action. I also certify that I am generally familiar with this Court’s Local Rules and with the Standing Order for
District Court Fund revised 12/21/23. I further certify that the fee of $50.00 has been paid to the Clerk of the
District Court.

Dated: December 10, 2024                                   /s/ Scott L. Fleischer
Wilmington, Delaware                                       Scott L. Fleischer
                                                           BARCLAY DAMON LLP
                                                           1270 Avenue of the Americas, Suite 501
                                                           New York, NY 10020
                                                           Telephone: (212) 784-5810
                                                           Facsimile: (212) 784-5777
                                                           E-mail: sfleischer@barclaydamon.com

                                        ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.



 Dated: December 10th, 2024                                     JOHN T. DORSEY
 Wilmington, Delaware                                           UNITED STATES BANKRUPTCY JUDGE
